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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 YEHOSHUA BANDMAN,

                               Plaintiff,

                  -v-                               Civil Case Number: 3:20-cv-15614-MAS-LHG

 BANK OF AMERICA, N.A.,


                               Defendant.


                                 STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

stipulate to the Plaintiff’s voluntary dismissal of all claims against Defendant in the above-

captioned matter, with prejudice. A proposed Order of Dismissal is annexed hereto as Exhibit A.

         All parties shall bear their own attorneys’ fees and costs incurred in this action.

Dated:          January 26, 2021

 /s/ Yitzchak Zelman                                 /s/ Philip Andrew Goldstein
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



 YEHOSHUA BANDMAN,

                             Plaintiff,

                 -v-                             Civil Case Number: 3:20-cv-15614-MAS-LHG

 BANK OF AMERICA, N.A.,


                             Defendant.



                                     DISMISSAL ORDER

IT IS HEREBY ORDERED:

       THAT pursuant to the parties’ January 26, 2021 Stipulation of Dismissal, all claims

asserted against Defendant in Civil Action No. 3:20-cv-15614-MAS-LHG, are dismissed with

prejudice; and

       THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.


SO ORDERED THIS _______ day of ___________ 2021.




                                                                  ___________
                                             HONORABLE MICHAEL A. SHIPP
                                             UNITED STATES DISTRICT JUDGE
